   Case 3:19-md-02885-MCR-HTC Document 1088-1 Filed 04/14/20 Page 1 of 3




                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF FLORIDA
                          PENSACOLA DIVISION


 IN RE: 3M COMBAT ARMS      )                   Case No. 3:19-md-2885
 EARPLUG PRODUCTS LIABILITY )
 LITIGATION                 )
                            )                   Judge M. Casey Rodgers
                            )                   Magistrate Judge Gary R. Jones

                      DECLARATION OF COLE CARTER

I, Cole Carter, declare as follows:

       1.    I am an attorney licensed to practice law in the State of Illinois and am

an associate with the law firm of Kirkland & Ellis LLP, located at 300 North

LaSalle, Chicago, Illinois 60654, counsel for Defendants 3M and Aearo

Technologies LLC.

        2.   I am over the age of eighteen and suffer from no mental or physical

disabilities that would render me incompetent to testify in this matter. I have

knowledge of the facts set forth herein, and if called to testify as a witness thereto,

could do so competently under oath.

        3.   Attached hereto as DX1 is a true and correct copy of a letter sent from

Armand Dancer and Pascal Hamery to Elliott Berger, dated June 9, 1997, and

bearing Bates numbers DOD00000234.1 to DOD00000234.2.
  Case 3:19-md-02885-MCR-HTC Document 1088-1 Filed 04/14/20 Page 2 of 3




         4.   Attached hereto as DX2 is a true and correct copy of an email sent

from G. Richard Price to Elliott Berger, dated December 9, 1997, and bearing

Bates numbers 3M_MDL000476776.

         5.   Attached hereto as DX3 is a true and correct copy of excerpts from a

spreadsheet detailing individual sales of the Combat Arms earplugs, marked as

Exhibit 4 of the October 17, 2019 deposition of Douglas Moses. It was produced

at Bates number 3M_MDL000393647.

         6.   Attached hereto as DX4 is a true and correct copy of excerpts from

the transcript of the October 18, 2019 and December 13, 2019 depositions of Brian

Myers.

         7.   Attached hereto as DX5 is a true and correct copy of an email sent

from Timothy McNamara to Doug Ohlin, dated September 27, 2004, and bearing

Bates numbers 3M_MDL000257880 to 3M_MDL000257881.

         8.   Attached hereto as DX6 is a true and correct copy of excerpts from

the transcript of the October 17, 2019 deposition of Douglas Moses.

         9.   Attached hereto as DX7 is a true and correct copy of excerpts from

the transcript of the February 26, 2020 deposition of LTC John Merkley.

         10. Attached hereto as DX8 is a true and correct copy of excerpts from

the transcript of the December 19, 2019 deposition of Ronald Kieper.




                                          2
   Case 3:19-md-02885-MCR-HTC Document 1088-1 Filed 04/14/20 Page 3 of 3



        11. Attached hereto as DX9 is a true and correct copy of excerpts from

the transcript of the March 3, 2020 deposition of Special Agent Jennifer Coleman.

        12. Attached hereto as DXlO is a true and correct copy of excerpts from

the transcript of the December 3, 2019 deposition of Marc Santoro.

       I declare under penalty of perjury that the foregoing is true and correct.

       Executed on April 14, 2020 in Chicago, Illinois




                                         3
